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EXHIBIT “E”
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Case 2:10-md-02179-CJB-DPC Document 11734-6

INITIAL OFFICE VISIT
PATIENT: ELTON JOHNSON
REFERRED BY: DARRON MCCANN, MD
DATE: 05/11/10

PRESENTING COMPLAINTS: Mr. Johnson is a 22~-year-old black male who
was referred here by Dr. McCann for evaluation and management of
psychiatric complications arising from a recent injury. Specifically,
it is my understanding, based on the patient’s report that he was on a
supply boat attending the deep water horizon offshore drilling rig
which exploded in April of this year. Mr, Johnson was thrown and
knocked to the side by the force of the explosion. He is not sure if
he was rendered unconscious but does clearly recall feeling dazed and
disoriented initially. It took him an unspecified period of time to
realize what had happened. He now has back pain, anxiety, irritability
and depression. He is having clear post traumatic features. He is
beset by intrusive thoughts of the accident and describes a hyper-
active response to stimuli. He describes some survivor guilt. He
gets angry and “pissed off” very easily, especially when thinking
about the accident. He has traumatic nightmares of people burning on
the rig and also pulling people out of the water with various
injuries. He had one recently in which he was burning. He woke up with
acute anxiety. He indicates that when these episodes occur his heart
will race, he gets some shortness of breath and sweating. These
episodes occur spontaneously and may last as long as an hour or so. He
is sleeping with mirtazapine but his sleep is compromised by traumatic
nightmares as noted above. His appetite is improving. His energy is
low as is his interest level. Social interaction is now compromised as
he really does not want to be around people as he did before. He tears
up easily at times by his report. He denies any suicidal thought, plan
or intention. He is under the care of Dr. McCann for his back pain.

PRIMARY CARE PHYSICIAN: Darron McCann, MD
CURRENT MEDICATIONS: Hydrocodone, Soma and mirtazapine.

DRUG ALLERGIES: NKDA.

PAST MEDICAL HISTORY: This gentleman’s past medical history is
noncontributory. Ha has a previous history of a shoulder injury which
was operated. He does not smoke. He uses alcohol on an occasional
basis only. He denies any history of drug abuse.

PAST SURGICAL HISTORY: Noteworthy for previous right shoulder
surgery.

PAST PSYCHIATRIC HISTORY: This patient was seen by a psychiatrist in
New Orleans on one occasion and was placed on mirtazapine, an
unspecified dose which he takes q. nightly.

FAMILY HISTORY: Negative for known psychiatric illness.

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Elton Johnson

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Re: Elton Johnson
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BRIEF SOCIAL HISTORY: This gentleman is high school educated. He
worked as an Assistant Engineer on the supply boat as noted above. He
has worked there for about 3 % years. He is single and living with his
parents currently. Legal history is negative.

HEIGHT/WEIGHT: Mr. Johnson is 5’5.5” in height and weighs 201 pounds.
BMI= 32.9. VITAL SIGNS: BP= 148/78, HR= 84, R= 16.

MENTAL STATUS EXAMINATION: This patient is an alert, friendly and
cooperative individual who is casually and neatly dressed for the
examination. His sensorium is clear and he is oriented in all spheres.
Attention and concentration are both intact clinically. Remote memory
is good. An immediate recall is adequate with 2/3 items spontaneously
recalled following a 5-minute interval. His speech is fluent and
coherent and his thoughts are linear and goal-directed with normal
content. There are no hallucinations or perceptual illusions but he
does have flashback symptoms. His affect is a little brittle and his
mood is depressed and anxious. He is nonsuicidal. Insight is good.
Judgment function is intact clinically. On a gross clinical basis,
intellectual function appears within normal limits.

IMPRESSION: 1) Post Traumatic Stress Disorder.
2) Panic Features.
3) Back Pain Secondary to Occupational Injury.
PLAN? 1) Prescription for clonazepam 0.5 mg 1 tab b.i.d.
p-xr.n.
2) Patient to continue mirtazapine as directed and

refills will be provided as indicated.

3) PAI for objective evaluation of patient’s mood
status.

4) Coordinate care with Dr. McCann as medically
indicated.

James W. Quillin, PhD, MP, ABMP
JWQ/BRIMJLO001
Dictated but not read

Cc: Darron McCann, MD
Mr. Eddie Knoll, Attorney at Law

Elton Johnson

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